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        ATTACHMENT A
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                            Crim. No. 17-201-1 (ABJ)
 PAUL J. MANAFORT, JR.,
                                            Filed Under Seal

               Defendant.


             JOINT RESPONSE TO COURT’S FEBRUARY 4, 2019, ORDER

       The United States of America, by and through Special Counsel Robert S. Mueller, III, and

the defendant through his counsel, file this submission pursuant to the Court’s Minute Order dated

February 4, 2019, directing the parties to file their proposed redactions to the transcript from the

February 4, 2019 sealed hearing. Pursuant to the Court’s direction, the parties have come to

agreement on the following proposed redactions, attached as Attachment B, with one exception.

The defense seeks the more limited redactions noted in a portion of the transcript provided as

Attachment D. The government opposes that request and seeks an opportunity to be heard.

Additionally, the government includes a version with the proposed redactions in Attachment B

applied, attached as Attachment C.
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Dated: February 6, 2019                          Respectfully submitted,

                                                 ROBERT S. MUELLER III
                                                 Special Counsel



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